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                     ATE MIN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                )
    In re:                                                      )      Chapter 11
                                                                )
    REVERSE MORTGAGE INVESTMENT                                 )      Case No. 22-11225 (MFW)
    TRUST INC., et al.,                                         )
                                                                )      (Jointly Administered)
                            Reorganized Debtors.                )
                                                                )      Re: Docket Nos. 724, 874, 889

               TEXAS CAPITAL BANK’S REPLY TO OBJECTION OF
             LEADENHALL LIFE INSURANCE LINKED INVESTMENTS
            FUND PLC AND LEADENHALL CAPITAL PARTNERS LLP TO
       MOTION FOR ENTRY OF AN ORDER TO RELEASE TCB DIP COLLATERAL

             Texas Capital Bank (“TCB”), by and through its undersigned counsel, files this reply

(the “Reply”) to the Objection of Leadenhall Life Insurance Linked investments Fund Plc and

Leadenhall Capital Partners LLP to Texas Capital Bank’s Motion for Entry of an Order to Release

Certain DIP Collateral [Docket No. 889] (the “Objection”) filed in response to the Motion by

Texas Capital Bank for Entry of an Order to Release TCB’s DIP Collateral [Docket No. 874]
                    1
(the “Motion”).         For the reasons set forth herein and in the Motion, the Objection should be

overruled and the Motion should be granted. In support of the Reply, TCB respectfully states as

follows:

                                                       Reply

             1.    Almost a year after the entry of the highly negotiated Second Interim DIP Order by

this Court,2 Leadenhall Capital Partners LLP and Leadenhall Life Insurance Linked Investments


1     Capitalized terms used herein but not otherwise defined shall have the meaning ascribed to such terms in the
      Motion.

2     “Second Interim DIP Order” as used herein means Second Interim Order (I) Authorizing the Debtors to Obtain
      Postpetition Financing; (II) Authorizing Certain Debtors’ Use of Cash Collateral; (III) Modifying the Automatic
      Stay; (IV) Scheduling a Final Hearing; and (V) Granting Related Relief [Docket Nos. 170, 170-2, 171-1].
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Fund Plc (collectively, “Leadenhall”) seek to revise history and rewrite the unambiguous, express

language of the Second Interim DIP Order that provides TCB with first priority priming liens on

the Unencumbered Assets, including claims against Compu-Link Corporation (the “Celink

Claims”). Pursuant to paragraph 6 of the Second Interim DIP Order, TCB is granted a first priority

lien on the “Unencumbered Assets.” See Second Interim DIP Order, ¶ 6(a). The Second Interim

DIP Order further expressly clarifies that the term “Unencumbered Assets” as used in the Second

Interim DIP Order includes “all claims and/or causes of action of any Debtors against Celink . .

. . ” Second Interim DIP Order, ¶ 6(d) (emphasis added).

       2.      Leadenhall was intimately involved in the negotiation and drafting of the

Second Interim DIP Order and affirmatively consented to this Court’s entry of the Second Interim

DIP Order after good faith, arm’s length negotiations among the Debtors, TCB, Leadenhall, and

Starwood. By consenting to entry of the Second Interim DIP Order, Leadenhall consented to the

extent and priority of the DIP Liens granted to TCB thereunder. Importantly, even if Leadenhall

maintained a prepetition lien on the Celink Claims, by consenting to the entry of the Second

Interim DIP Order, Leadenhall consented to TCB’s DIP Liens priming Leadenhall’s liens (if any)

on the Celink Claims.

       3.      Based upon the terms of the Second Interim DIP Order, TCB loaned not less than

$28,689,673.73 million of DIP Tail Advances to the Debtors. All DIP Tail Advances funded by

TCB were funded in reliance on the Second Interim DIP Order shortly after entry of the order;

TCB did not fund any additional amounts in connection with the Final DIP Order. Consistent with

the terms of the Second Interim DIP Order TCB was and is entitled to “rely upon the protections

granted [in the Second Interim DIP Order] and by section 364(e) of the Bankruptcy Code . . . [and]

[a]ny modification or reversal shall not affect the validity and enforceability of any advances



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previously made or made hereunder, or lien, claim or priority authorized or created [by the Second

Interim DIP Order].” Second Interim DIP Order, ¶ 36.

        4.      Remarkably, through the Objection, Leadenhall seeks to set aside the express terms

of the Second Interim DIP Order even though Leadenhall actively negotiated the Second Interim

DIP Order, and consented to entry of such order. It was only after TCB funded the DIP Tail

Advances in reliance on the terms of the Second Interim DIP Order, and after GNMA exercised

its rights against Leadenhall’s primary collateral, the Debtors’ MSRs, to remove the MSRs from

the Debtors’ estates, that Leadenhall raised so called “Disputed Issues” as to what assets where

subject to TCB’s first priority DIP Liens. In connection with the Final DIP Order (which again,

expressly provides TCB with the same first priority liens on the Celink Claims on a final basis, see

Final DIP Order, ¶ 8), Leadenhall included a reservation of rights as to certain “Disputed Issues,”

which purportedly included a dispute as to which party has a priority lien on the proceeds of the

Celink Claims. Final DIP Order, ¶ 5, n.4.

        5.      However, the inclusion of this reservation of rights in the Final DIP Order does not

retroactively unwind or rewrite the terms of the Second Interim DIP Order entered by this Court.

TCB permitted such reservation in the Final DIP Order (instead of litigating at that time), because

TCB was optimistic that GNMA and other governmental units would honor their commitments

and TCB would recover in full from its other DIP Collateral. This would have rendered any dispute

around the Celink Claims or the proceeds thereof unnecessary. Unfortunately, due to the manner

in which these chapter 11 cases played out, TCB, notwithstanding its first priority position, will

only recover approximately $4.5 million on account of its approximately $28,689,673.73 of DIP

Tail Advances.3 Regardless, Leadenhall’s inclusion of a reservation of rights in the Final DIP


3   On October 4, 2023, TCB initiated litigation against GNMA in the District Court for the Northern District of
    Texas seeking to recover on the amount of the DIP Tail Advances held by GNMA (Case No. 2:23-cv-00156).

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Order does not rewrite, modify, amend or otherwise alter the express terms and protections of the

Second Interim DIP Order—such reservation merely preserved Leadenhall’s ability to bring this

issue before this Court as it has now done. In reality, through the Objection, Leadenhall is making

a thinly veiled attempt to seek reconsideration of the Second Interim DIP Order.4

         6.       At bottom, Leadenhall should be held to its agreement in the Second Interim DIP

Order, and its attempt to overturn and/or reconsider an order to which it consented should be

summarily rejected. TCB extended the DIP Tail Advances as a good faith lender in reliance on its

first priority liens on, among other collateral, the Celink Claims, and TCB should be afforded the

protections provided to post-petition lenders pursuant to section 364(e) of the Bankruptcy Code as

set forth in the Second Interim DIP Order.                    This Court should not permit Leadenhall to

opportunistically seek to disregard the plain terms of this Court’s order and retroactively revisit

the bargain reflected in the Second Interim DIP Order.

I.       Unambiguous Language in Second Interim DIP Order Provides TCB with Senior
         Liens on the Celink Claims.

         7.        “[W]here the plain terms of a court order unambiguously apply, . . . they are

entitled to their effect.” Travelers Indem. Co. v. Bailey, 557 U.S. 137, 150–51 (2009). “If it is

black-letter law that the terms of an unambiguous private contract must be enforced irrespective

of the parties’ subjective intent, it is all the clearer that a court should enforce a court order, a

public governmental act, according to its unambiguous terms.” Id. Courts will find “a provision

in a [court order] is ambiguous only when, from an objective standpoint, it is reasonably



     The Proposed Order provides that TCB will return any excess funds it recovers on account of the DIP Tail
     Advances from GNMA in connection with this litigation to the estates.
4    However, Leadenhall did not pursue the proper procedural mechanism to seek reconsideration of the Second
     Interim DIP Order, likely because Leadenhall is well aware it cannot satisfy the strict standard applicable under
     Rule 60 of the Federal Rules of Civil Procedure (the “Federal Rules”).


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susceptible to at least two different interpretations.” In re Molycorp, Inc., 562 B.R. 67, 79 (Bankr.

D. Del. 2017) (internal citations omitted) (finding provision in debtor-in-possession financing

order was not ambiguous and could not be interpreted as a cap on fees for creditors’ committee

counsel in part because language was typical of other carve-out provisions); see also In re

NorthEast Gas Generation, LLC, 639 B.R. 914, 923–24 (Bankr. D. Del. 2022) (finding that debtor

was not seeking a minor clarification of the plan necessary to fill a gap or further the intent of the

parties, but was instead seeking to change the unambiguous terms of the plan, which had been

negotiated and drafted among sophisticated parties and must be enforced as written).

       8.      Here, the Second Interim DIP Order, an order that Leadenhall reviewed, negotiated,

and consented to the entry of, is a clear and unambiguous order and its terms must therefore be

read and interpreted in accordance with their plain language and meaning. The order provides that

TCB’s DIP Tail Advances shall be secured by “first priority valid, perfected, enforceable, and

unavoidable liens on and security interests in” the Unencumbered Assets, which provision cross

references the items listed in Exhibit E of the attached DIP Notes Term Sheet. Second Interim

DIP Order, ¶ 6(a). Exhibit E includes the Celink Claims as an Unencumbered Asset. See Second

Interim DIP Order, DIP Notes Term Sheet, Ex. E.

       9.      Leadenhall makes several claims to try to deflect from the plain meaning of the

Second Interim DIP Order. First, Leadenhall argues that Exhibit E includes a disclaimer that the

listed items are subject to continued review, and as a result of Leadenhall’s prepetition liens, the

Celink Claims are not unencumbered and, therefore, not subject to TCB’s DIP Liens. Leadenhall

Obj., ¶ 4. Second, Leadenhall asserts that TCB cannot use the “mistaken inclusion” of an asset on

an exhibit to Leadenhall’s term sheet as a waiver of Leadenhall’s rights. Leadenhall Obj., ¶ 12.

And finally, Leadenhall creates the strawman that TCB is seeking to eliminate, release or



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extinguish Leadenhall’s prepetition liens without honoring Leadenhall’s due process rights.

Leadenhall Obj., ¶¶ 7–12.

        10.      But all these theories miss the mark entirely.               First, there is no release or

extinguishment of Leadenhall’s prepetition liens, and TCB has never asserted anything to the

contrary. Stated simply, it is irrelevant whether or not Leadenhall’s prepetition liens encumber the

Celink Claims, because the Second Interim DIP Order expressly granted TCB a first priority lien

on the Celink Claims. Second, TCB does not rely solely on an exhibit to Leadenhall’s term sheet

to assess, assert or support TCB’s security interests on the Celink Claims—recognizing that the

Celink Claims were a valuable asset of the Debtors’ estates at the time, TCB expressly identified

that this asset was part of TCB’s DIP Collateral, which TCB held a first priority lien on. It cannot

seriously be disputed by Leadenhall otherwise upon a review of the Second Interim DIP Order.

The Second Interim DIP Order expressly provides TCB with a first priority lien on the Celink

Claims separate and apart from any language in Exhibit E to the DIP Notes Term Sheet, or any

other term sheet: “Unencumbered Assets also includes all claims and/or causes of action of any

Debtors against Celink . . . .” Second Interim DIP Order, ¶ 6(d) (emphasis added). Third, for all

its imagination and creativity, the Objection fails to address this simple, unambiguous language in

the Second Interim DIP Order, and entirely fails to acknowledge that the terms of the Second

Interim DIP Order control to the extent of any inconsistency between the term sheets and the

Second Interim DIP Order. 5 For these reasons, the Objection must be overruled.




5   As noted by Leadenhall, to the extent that there is any inconsistency between the term sheets and the Second
    Interim DIP Order, the order controls. Second Interim DIP Order, ¶ 74; Leadenhall Obj., ¶ 4. Regardless of any
    language or disclaimer in Exhibit E to the DIP Notes Term Sheet, paragraph 6(d) in the Second Interim DIP Order
    unambiguously includes the Celink Claims as part of the “Unencumbered Assets,” which provides TCB a first
    priority lien on the Celink Claims and subordinates Leadenhall’s liens, if any.


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       11.     Separately, Leadenhall also fails to explain away its consent to the entry of the

Second Interim DIP Order, including the explicit language in paragraph 6(d). Indeed, the Debtors

filed two versions of the Second Interim DIP Order [Docket Nos. 152, 166] ahead of the

DIP hearing on December 8, 2022, both of which included paragraph 6(d) with TCB’s first priority

liens on the Celink Claims. Leadenhall neither filed an objection regarding this provision, nor

voiced its objection at the hearing as to the extent of TCB DIP Liens. See e.g., Dec. 8, 2022 Hr’g

Tr. 22:13–23:12; 27:16–17; 30:9–31:7 [Docket No. 212]. To the contrary, Leadenhall consented

to entry of the Second Interim DIP Order, and the Debtors filed a Certification of Counsel,

indicating that the Debtors received and incorporated informal comments from TCB and

Leadenhall, among other parties, and Leadenhall consented to the entry of the Second Interim DIP

Order. See Certification of Counsel Regarding Debtors’ Motion for Entry of Interim and Final

Orders, Pursuant to Sections 105, 361, 363, 364 and 507 of the Bankruptcy Code, (I) Authorizing

the Debtors to Obtain Post-petition Financing, (II) Authorizing the Debtors’ Use of Cash

Collateral, (III) Granting Adequate Protection, and (IV) Granting Related Relief [Docket No.

169]. This Court should not condone Leadenhall’s attempt through the Objection to take another

bite out of TCB’s apple and retroactively assert rights regarding the Celink Claims after Leadenhall

has already consented to the order that granted TCB a first priority lien on this asset.

       12.     Leadenhall argues in the Objection that Leadenhall adequately reserved its rights

as to certain “Disputed Issues” in the Final DIP Order, which Leadenhall states encompasses

disputes related to the Celink Claims. Leadenhall Obj., ¶¶ 5–6; Final DIP Order, ¶ 5, n.4. Again,

Leadenhall misfires. As an initial matter, the plain language of the purported reservation of rights

in the Final DIP Order does not operate to confirm or “recognize” the existence of any dispute, nor

does it dispose of any issues—it merely preserves Leadenhall’s ability to come before this Court



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to contest the effect of the Second Interim DIP Order. Leadenhall Obj., ¶ 5. Moreover, as set forth

herein, TCB funded the DIP Tail Advances pursuant to the Second Interim DIP Order—not the

Final DIP Order—and, therefore, the Second Interim DIP Order is the operative and relevant order

that granted TCB its first priority liens. The Second Interim DIP Order does not contain any such

reservation of rights or dispute by Leadenhall as to the extent of TCB’s DIP Liens.

II.    TCB is Entitled to All the Benefits and Protections of Section 364(e) as a Good Faith
       Post-Petition Lender.

       13.     The Third Circuit Court of Appeals has recognized that assurances and

commitments made to a good faith lender pursuant to section 364 of the Bankruptcy Code must

be honored. See In re Swedeland Dev. Grp., 16 F.3d 552, 561 (3d Cir. 1994) (noting that section

364(e) “seek[s] to overcome people’s natural reluctance to deal with a bankrupt firm whether as a

purchaser or lender by assuring them that so long as they are relying in good faith on a bankruptcy

judge’s approval of the transaction they need not worry about their priority merely because some

creditor is objecting to the transaction and is trying to get the district court or the court of appeals

to reverse the bankruptcy judge.”) quoting In re EDC Holding Co., 676 F.2d 945, 947 (7th Cir.

1982). The purpose behind section 364(e)’s bar to invalidating approved financing orders absent

a stay pending appeal is to protect a party’s good faith reliance on the effect and validity of a

bankruptcy court’s order in extending credit. 11 U.S.C. § 364(e); see In re Main, Inc., 239 B.R.

59, 72 (Bankr. E.D. Pa. 1999); see also Kham & Nate’s Shoes No. 2, Inc. v. First Bank of Whiting,

908 F.2d 1351, 1355 (7th Cir. 1990) (finding that section 364(e) prevents courts from

“backtracking on promises [to lenders] absent bad faith, which is a narrow exception”); In re

Western Pacific Airlines, Inc., 181 F.3d 1191, 1195 (10th Cir. 1991) (finding section 364(e)

“prohibits not only the outright invalidation of a lien or priority where the challenging party has




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failed to seek a stay but also modification of the terms of a post-petition lender's bargained-for

collateral”).

        14.      Here, the Second Interim DIP Order expressly provides that TCB is a good faith

lender pursuant to section 364(e) and any subsequent modification of the order will “not affect the

validity and enforceability of any advances previously made or made hereunder, or lien, claim or

priority authorized or created hereby.” Second Interim DIP Order., ¶¶ H(ix), 36. TCB extended

credit to the Debtors in good faith and in reliance on its DIP Liens granted under the Second Interim

DIP Order, including the bargained-for first priority liens on the Celink Claims. Therefore,

section 364(e) of the Bankruptcy Code prohibits this Court from disturbing or undermining the

protections granted to TCB in the Second Interim DIP Order.

                                             Conclusion

        15.      For the reasons stated above, the Court should overrule the Objection, grant the

relief requested in the Motion, and enter the Proposed Order.

                                       Reservation of Rights

        16.      TCB hereby reserves all its rights, claims, defenses, and remedies in this proceeding

or any other forum, including the right to amend, modify, or supplement this Reply, including,

without limitation, based upon any additional information discovered prior to or at any hearing on

the Motion, and to assert such other and further rights or claims prior to the final adjudication of

the matter. TCB does not waive, and hereby expressly preserves: (a) any obligation owed to TCB;

(b) any right or rights of action that it has or may have against the Debtors, their successors, or any

other person or persons; and (c) any and all rights and remedies at law or in equity available to

TCB against the Debtors and any of their affiliates or subsidiaries, or any other person or entity.




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